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                     UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA


      UNITED STATES,                         CASE NO.: CR 13-0106-DOC

      Plaintiff
      vs. MONGOL NATION,                AMICUS CURIAE BRIEF OF
      Defendant.                        SEVEN LAW PROFESSORS IN
                                        SUPPORT OF NEITHER
                                        PARTY
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 i                                    INTRODUCTION
 2          The signatories to this amicus brief write to offer some assistance to the
 3    Court about what trademark law does—and does not—cover.l A trademark is a
 4    symbol that consumers use to associate goods or services with their source or
 5    sponsorship. It is the combination of the symbol and its goodwill produced by
 6    the association with the source or sponsor, not the symbol in the abstract, that
      constitutes the trademark. E.g., Nationwide Mut. Ins. Co. v. Tri-Continental
 s Exchange, Ltd., No. CV-00-12665—JSL(JWJX), 2001 WL 34398158, at *18
 9   (C.D. Cal. Jan. 23, 2001)("the goodwill associated with a trademark represents
io    an intangible but immeasurably valuable asset"). Trademark rights arise out of
ii    use, not registration. This means that the Mongol Nation may hold more
12   unregistered trademarks than the three identified by the government. At the same
13   time, registration does not guarantee the validity of a mark. Trademarks can
14   cease to exist when they are no longer used to identify particular goods or services.
is          As we will explain, whatever trademarks the Mongol Nation owns are
16   capable of being transferred in a forfeiture proceedings. But those marks would
i~   only survive such a transfer under specific circumstances. Nor is it clear that
is   any new owner ofthe marks would be able to assert those rights against
19   others—including existing Mongol Nation members—who continue to use the
20   term Mongol or the existing logos to describe the current Mongols.
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    1 We have reviewed the three registered marks that the government points to
24 in its forfeiture order. Two ofthese marks are currently registered with the
    U.S. Patent and Trademark Office(Nos. 4830806 and 4406187), and one has
as been cancelled for failure to file an affidavit of continued use with the PTO
26 (No. 2916965).
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 i       I.      A TRADEMARK AND ITS ASSOCIATED GOODWILL
 a               COMPRISE AN INTANGIBLE ASSET,SUBJECT TO
 3               I~177~~~QI17
 4            There is no barrier to the criminal forfeiture of trademarks as assets as
 5    long as the marks are not targeted on expressive grounds. See Simon &
 6    Schuster, Inc. v. Members ofthe N.Y. State Crime Victims Board, 502 U.S. 105
     (1991). By analogy, trademarks have been involuntarily transferred in
 s    bankruptcy proceedings. However, in such instances, the trademark has been
 9    transferred along with the goodwill of the underlying business, as we will
io    discuss further in Section III.A. See J. Thomas McCarthy, McCarthy on
ii    Trademarks and Unfair Competition § 18:29(5th ed. 2017). Thus, the answers
12    to the Court's first two questions are "no" and "yes, but with specific
13    consequences" respectively:2 forfeiture of a trademark is "feasible" to the extent
14    that its purpose is simply to divest defendants of accrued trademark rights, and,
15    depending what the government plans to do with the seized mark, to prohibit
16    others from using the mark commercially. It is not "feasible," however, if its
1~    purpose is to allow the government to stop the club and its members from
is   calling themselves Mongols and wearing Mongols gear.
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     2"[1]Whether criminal forfeiture of any and all legal and equitable rights of any
24   kind or nature associated with or appurtenant to a collective membership mark
     violates the First Amendment to the United States Constitution.[2] Whether
2s   criminal forfeiture of a collective membership mark is feasible under intellectual
26   property law." Order of January 17, 2019.
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 i       IL      LIMITS ON WHAT GOVERNMENT CAN DO WITH
 z               FOREFEITED MARKS.
 3               If the government intends through forfeiture to stop the club or its
 4    members from calling themselves "Mongols," or wearing the Mongols design
 5    mark, trademark law will not necessarily do that.
 6                 A.      What Happens to the Forfeited Asset?
              Several principles oftrademark law govern whether trademark rights
 s    survive a transfer of ownership.3 A trademark, unlike a patent or copyright, is
 9    not "a right in gross or at large." United Drug Co. v. Theodore Rectanus Co.,
io 248 U.S. 90,97(1918); see also Kern v. Mindsource, Inc., No. 99-16127,2000
ii    WL 692199, at *4(9th Cir. May 30, 2000). "Trademark ownership is always
12   appurtenant to commercial activity. Thus, actual and continuous use is required
13   to acquire and retain a protectable interest in a mark." Tally-Ho, Inc. v. Coast
14   Comm. College mist., 889 F.2d 1018, 1022-23 (1 lth Cir. 1989).
is            If an unincorporated association has trademarks in a name and logo for
16   identifying the services of a motorcycle club, it may prevent others from using
i~   the marks in confusing ways on related goods and services, but it does not have
is   any title in the word or logo itself. Nor can the government by forfeiture come
19   ~ to own the word or logo apart from the underlying products or services for
Zo ~ which those marks function as source-identifiers, any more than it could do so
21   ~ by purchasing the marks in a voluntary transaction. Cash Processing Servs. v.
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     3 As to the registration that was cancelled for failure to file a Section 8 affidavit
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     pursuant to the Lanham Act, that cannot be revived. Registration requires periodic
26   payment of fees and statements of use or excusable nonuse.
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 i    Ambient Entertainment, Inc., 418 F. Supp. 2d 1227, 1232-33(D. Nev. 2006)
 z ("Mustang Ranch" mark for brothel services had been forfeited to_the
 3    government; only use in connection with brothel was relevant trademark use by
 4    the government).
 s          For the registered marks,the covered services are those listed in the
 6    registrations, relating to membership in a motorcycle association. If the
      government does not intend to use the marks for this purpose, or to transfer
 s    them.to an association dedicated to motorcycles, the marks would be
 9    abandoned. Nor could the government simply start using the word or design
io    marks on new products to establish continued use. Trademark law requires that
ii   the uses be a continuation of the underlying uses that established the trademark
is rights in the first place.4
13               1.      Abandonment.
14          If the government merely seizes the Mongols marks and makes no use of
is   them,those marks are likely to be abandoned. The Lanham Act provides that
16         [a] mark shall be deemed to be "abandoned"....[w]hen its use has been
i~          discontinued with intent not to resume such use. Intent not to resume may
is          be inferred from circumstances. ... "Use" of a mark means the bona fide
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22 4 We note that the 9th Circuit has held that trademark rights arise only for uses that
   are lawful. CreAgri, Inc. v. USANA Health Sciences, Inc., 474 F.3d 626,630(9th
23
   Cir. 2007). Nevertheless, the fact that an entity engaged in unlawful acts does not
24 bar it from acquiring or maintaining trademark rights in connection with lawful
   aspects of its operations. Cash Processing Services, LLC v. Ambient
Zs Entertainment, Inc., 320 Fed. Appx. 494(9th Cir. 2008)(discussing "Mustang
26 Ranch" mark, forfeited to the government due to unlawful racketeering activity).
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 i          use of such mark made in the ordinary course oftrade, and not made
 a          merely to reserve a right in a mark.
 3    15 U.S.C. § 1127. The relevant questions are whether the putative owner has
 4    discontinued use and lacks a bona fide intent to resume use. Electro Source,
 5    LLC v. Brandess-Kalt-Aetna Group, Inc., 458 F.3d 931,937(9th Cir. 2006);
 6    Silverman v. CBS Inc., 870 F.2d 40, 46(2d Cir. 1989)(finding no bona fide
      intent when mark-holder had no more than speculative plans to resume use if
 s    the market changed). If the government lacks a good faith intent to use or
 9   transfer the marks to an entity that will use them for a motorcycle association,
io    abandonment could occur at the time offorfeitures
ii          When a mark has been abandoned, anyone can use the symbol and can
12   even create a new trademark right using the symbol: Cumulus Media,Inc. v.
13   Clear Channel Comm.,Inc., 304 F.3d 1167, 1173(11th Cir. 2002)("[A]
14   defendant ~vho successfixlly shows that a trademark plaintiff has abandoned a
is   mark is free to use the mark ...."); McCarthy on Trademarks and Unfair
16   Competition § 17:1 (5th ed. 2017)(an abandoned mark "falls into the public
i~   domain and is free for all to use ..."). Thus, if there was seizure and
is   abandonment ofthe instant marks, the defendants could re-adopt the Mongols
19   marks as trademarks, though their rights would accrue only as ofthe new first
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     5 Governmental concerns related_to administering a forfeiture can excuse a certain
24   amount of nonuse, though appropriate use must ultimately be resumed for the mar:
     to stay valid. Cash Processing Servs., 418 F. Supp. 2d at 1233-34 (attributing
zs   private transferee's intent to use to the government where the trademark and
26   associated property were sold at auction).
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     i ~ use date. Members(and anyone else) would be free to use the abandoned words
 2     ~ and designs.
 3                 B.        Assignment in Gross and Naked Licensing.
 4            The government may intend to transfer or license the trademark to
 5     another entity. Consistent with the fundamental principle that a trademark is not
 6     a right in the abstract but a right appurtenant to use with specific goods and
       services, trademark law does not recognize transfers "in gross"—transfers that
 s     attempt to transfer a trademark only, without any ofthe associated "goodwill."
 9     It "is well settled ... that no rights [to a mark] can be transferred apart from the
io     business with which the mark has been associated." Mister Donut of America,
li     Inc., v. Mr. Donut, Inc., 418 F.2d 838, 842(9th Cir. 1969). Goodwill is a broad
i2 and inchoate concept, but it generally means some sort of underlying
13     connection to the initial business, whether that's know-how or physical assets
14     or something else.6
15            One example of an assignment in gross is a purported transfer of a mark,
16     but for use on different goods and services. PepsiCo, Inc. v. Grapette Co., 416
i~ F.2d 285, 289(8th Cir. 1969)("Where a transferred trademark is to be used on
ig     a new and different product, any goodwill which the mark itself might represent
19     cannot legally be assigned."). In another government forfeiture case, the court
20 helpfully explained:
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24     6 In the analogous context of bankruptcy, the test is "whether the assets which are
       purchased with the name are sufficient to enable the purchaser to `go on in real
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       continuity with its past."' Merry Hull & Co. v. Hi-Line Co., 243 F. Supp. 45, 51
26    (S.D.N.Y. 1965); see- McCarthy,supra.
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              Where a trademark is assigned as a mere term, without any particular
 a            associated good will, the assignment may be ineffective, causing the
 3            mark to remain with the purported assignor. Alternatively, the mark may
 4            be deemed involuntarily abandoned. One clear requirement that arises
 5            from this principle is that a mark cannot be assigned for use by a business
 6            with fundamentally dissimilar goods and services.
 7

 s     Burgess v. Gilman,475 F. Supp. 2d 1051, 1056(D. Nev. 2006)(citations
 9     omitted), affd,316 Fed. Appx. 542(9th Cir. 2008). "[I]t is not necessary that
io     the entire business or its tangible assets be transferred; it is the goodwill of the
ii     business that must accompany the mark." E. & J. Gallo Winery v. Gallo Cattle
12     Co., 967 F.2d 1280, 1289(9th Cir. 1992). Some courts have found that as long
13     as the transferee's goods or services are essentially the same as the transferor's
14 I   in type and in quality, then there can be a valid transfer. Defiance Button Mach.
15     Co. v. C & C Metal Prod. Corp., 759 F.2d 1053, 1059, 1060(2d Cir. 1985);
i6 Restatement(Third) of Unfair Competition § 34(1995)("In the final analysis,
i~     the question is whether the assignee has acquired enough ofthe assignor's
is     business to maintain continuity in the use ofthe designation.[A valid transfer
19     occurs] ifthe expectations of consumers who rely on the presence ofthe
zo     designation after the assignment will be substantially fulfilled."). A license
ai     instead of an outright transfer would be subject to the same principles, and
z2     would also require ongoing quality assurance and supervision by the licensor.
23     Freecycle Sunnyvale v. Freecycle Network,626 F.3d 509, 515-16 (9th Cir.
24     2010); Barcamerica Intern. USA Trust v. Tyfield Importers, Inc., 289 F.3d 589,
is     595-96 (9th Cir. 2002).
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             Thus, a valid transfer would have to(1)include goodwill and (2)convey
      the marks to an entity that would use them for a motorcycle club or something
      sufficiently related. Only.if they were not abandoned would the defendants
      potentially face post-forfeiture infringement claims for using the marks.
         III.   THE OWNERSHIP OF A TRADEMARK AND THE RIGHT OF
                A PERSON TO USE GOODS BEARING THE MARK ARE
                VERY DIFFERENT MATTERS.
 s          Even if the government maintained trademark rights in the Mongols
 9    Nation marks, doing so would not necessarily give it the ability to bar uses of
io the mark in many contexts, most significantly the wearing of apparel bearing
ii    the marks, including by members ofthe Mongol Nation.
12
                 A.      The First Sale Doctrine.
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14          Because trademark rights are intangible, any existing marked items(not

15    themselves independently subject to criminal forfeiture') would not be forfeited

16    merely because the trademarks had been forfeited. The doctrine of"first sale"

i~    allows the owner of legitimately acquired marked goods to use and resell them,

is    no matter what the (current)trademark owner wants.$ "[T]he right of a

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   ~ The government also seeks forfeiture of already seized "items of tangible
2i personal property" bearing the marks. U.S. v. Mongol Nation, Government's
a2 Notice of Motion and Motion for Preliminary Order of Forfeiture Against
   Defendant Mongol Nation, at 2. Amici don't know whether all existing items
23
   bearing the mark have been seized.
24 g The government thus errs in its proposed forfeiture order in lumping together
   "personal property bearing all or part ofthe Marks" with the marks themselves, id.
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   at 16—while it may make sense to restrain defendants "from taking or attempting
26 any action that might affect the availability, marketability or value ofthe Marks,"
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      !, producer to control distribution of its trademarked product does not extend
 2    beyond the first sale ofthe product." Sebastian Int'1, Inc. v. Longs Drug Stores
 3    Corp., 53 F.3d 1073, 1074 (9th Cir. 1995).9
 4           Simply put, even bad behavior in public by wearers oflawfully
 s    purchased marked apparel (whether a red cap or Burberry plaid) doesn't entitle
 6    the trademark owner to stop the miscreants from wearing their personal
      property. To hold otherwise would make trademark owners the arbiters of huge
 s    amounts of private conduct, and trademark law has never extended so far.
 9               B.       Even Subsequently Created Items Bearing the Mark
io                        Would Not Necessarily be Infringing.
ii
12          Only uses of a mark in commerce that are likely to cause confusion
13    infringe trademark rights. See 15 U.S.C. § 1114(1)(a); Century 21 Real Estate
14    Corp. v. Sandlin, 846 F.2d 1175, 1178(9th Cir. 1988). The most plausible
is    argument in favor of preventing club members from continuing to use the
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is id., selling or otherwise disposing of personal property bearing the marks would
   not, because of the first sale doctrine, generally have any effect on the
19 "availability, marketability or value ofthe Marks" themselves. (In the ordinary

20 case, abruptly stopping sales of goods bearing a mark would likely devalue the
   mark, though this may not be an ordinary case. We make the observation merely
21
   to highlight that the marks and goods bearing the marks are distinct legal entities.)
22 9 Unsurprisingly, most first sale cases involve attempted resales, not mere
   continued use, because it is generally so obvious that continued use is lawful.
23
   Sometimes, plaintiffs try to evade first sale by pleading that the continued use
24 deceives consumers about whether the trademark owner has given permission or
   authorization to the reseller. Courts have wisely rejected this attempted
Zs workaround. Sebastian, 53 F.3d at 1076. Continued use of existing marked items
26 by club members would fall within the same protections.
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 i    Mongols marks if they were successfully transferred to another owner—
 2    would be by analogy to a terminated franchisee. See, e.g., General Motors LLC
 3   ~ ~ v. West Covina Motors, Inc., No. CV 15-705—JFW(AGl~),2015 WL
 4    127.62063, at *13-14(C.D. Cal. Apr. 13, 2015)(further noting that the remedy
 s    might be damages, not injunction). However, in the usual case, the franchisee
 6    sells goods or services to the public under the franchisor's mark, which is not
      the same thing as organizing for associational purposes. In particular, club or
 s    club members' creation of items using the mark for personal use, without sale
 9    to nonmembers, might well not infringe the rights ofthe new owner.
io          More specifically, fair uses do not infringe: Uses that describe the user
ii ("I am a Mongol") may constitute descriptive or nominative fair use. Truthful
IZ    references to historical affiliations are likely to be nominative fair use (a
13    concept that helps implement First Amendment safeguards within trademark
14    doctrine). New Kids on the Block v. News Am.Publ'g, Inc., 971 F.2d 302, 308
is (9th Cir. 1992); see also Kassbaum v. SteppenwolfProductions, Inc., 236 F.3d
16    487, 493(9th Cir. 2000)(finding historical references to affiliation with band
i~    unlikely to cause confusion). Descriptive use—another type of noninfringing
is ' use—is usually distinguished from nominative fair use; nominative use involves
19   ~ a reference to the trademark owner, while descriptive fair use is centered on
Zo    describing some characteristic ofthe challenged user. Where there is a
21    historical symbol with a meaning that goes beyond simply linking goods and
Za ~ services to the seller ofthose goods or services, the two concepts may
23    converge: the challenged user might have to use the trademark in order to
24    successfully describe himself. See Sazerac Brands, LLC v. Peristyle, LLC,892
zs    F.3d 853 (6th Cir. 2018)(finding that a use identifying a historical connection
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 i    was a descriptive fair use); Hensley Mfg. v. ProPride, Inc., 579 F.3d 603,610
 2   (6th Cir. 2009)(considering such uses to be outside the Lanham Act).
 3           In many cases, trademark-law poses no First Amendment problems
 4    because false and misleading commercial speech receives no constitutional
 5    protection. See, e.g., National Grange ofthe Order ofPatrons of Husbandry v.
 6    California Guild, 334 F. Supp. 3d 1057, 1067(E.D. Cal. 2018). Although some
      uses may not be sufficiently "in connection with goods or services" within the
 g    meaning ofthe Lanham Act, see Radiance Foundation, Inc. v. N.A.A.C.P., 786
 9    F.3d 316(4th Cir. 2015),10 courts have applied the Lanham Act to speech that
io    would in other contexts be deemed "noncommercial," such as the names of
ii    churches,see, e.g., General Conference Corp. of Seventh-Day Adventists v.
12    McGill, 617 F.3d 402(6th Cir. 2010), and the names of political parties, see,
13    e.g., United We Stand America,Inc. v. United We Stand, America New York,
i4    128 F.3d 86(2d Cir. 1997).
is          Nonetheless, the primary justification for trademark laws is the regulation
16    of commerce: protecting consumers from being deceived in the marketplace
i~    and preventing damage to businesses' goodwill by those who pass off their own
is    goods or services as those of another. See, e.g., Matal v. Tam, 137 S. Ct. 1744,
i9    1767-68(2017)(opinion offour Justices)(emphasizing that trademark's
Zo
21
      to In Radiance, the defendant advocacy organization used the plaintiff's mark to
22
      criticize the plaintiff. Although the defendant engaged in fundraising and thus
23
      operated "in commerce," the court found that there wasn't"a sufficient nexus
24    between the, specific use ofthe marks and the sale, offer for sale, distribution, or
      advertisement" of any ofthe defendant's goods or services. 786 F.3d at 326.
2s    Under that reasoning, the club and its members wouldn't be subject to the Lanham
26    Act unless they offered goods or services to others under the Mongol marks.
                                                 14
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      restrictions on others' speech depend on a consumer protection rationale); In re
 2    Brunetti, 877 F.3d 1330, 1349(Fed. Cir. 2017), cert. granted sub nom.Iancu v.
 3    Brunetti, No. 18-302,      , S.Ct.    ,2019 WL 98541 (Jan. 4, 2019)
 4   (registration bar targeting noncommercial expressive aspects of mark, rather
 s    than source-identifying aspects, wasn't legitimate commercial speech
 6    regulation).
            Although offering commercial services to the public in competition with
 s    the new owner could infringe the rights ofthat owner, individuals simply
 9    wearing Mongols gear or affiliating as a Mongol club would have a tenuous
io    connection to any commercial harms. Even if consumers who viewed club
ii    members dressed as Mongols were confused about those members' connection
12    with the new owner, that wouldn't be the same as confusion over the source or
13    sponsorship of goods or services sold in the market, and members' expressive
14    and associational interests in identifying as Mongols are substantial.11 A
is    person's or group's ability to choose the symbol that represents them is an
16    important part ofthe freedom of speech. Tam, 137 S. Ct. at 1760("powerful
i~    messages can sometimes be conveyed in just a few words"); Cohen v.
is    California, 403 U.S. 15, 26(1971); Pursuing America's Greatness v. Federal
i9 ~ Election Comm'n,831 F.3d 500, 510(D.C. Cir. 2016)(title/name is a "critical"
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      11 Moreover, and distinct from the usual associational scenario where two private
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      parties spar over the right to use a name, the argument against allowing the club
24    and its members continued use ofthe marks would be that the government had
      made the use misleading through forfeiture. The context of a surrender to the
zs    government reinforces the concerns that arise because use to self-identify as
26    members of an association is not standard commercial use of a trademark.
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 i    way to identify a group). To prevent the suppression of constitutionally
 2    protected speech, any forfeiture order should clearly delineate the effect of
 3    forfeiture on the club and club members' rights to continued expressive uses of
 4    the Mongols symbols. Even ifthe marks are validly transferred, the ownership
 5    ofthe marks by a new motorcycle club couldn't prevent members ofthe current
 6    group from describing themselves without treading onto dangerous First
      Amendment ground.
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            Dated: February 6, 2019
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                                                 By:      /s/Rebecca Tushnet
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                                                       REBECCA TUSHNET
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